 

 

UNITED STATES DISTRICT COURT

 

 

NORTHERN DISTRICT OF TEXAS, FORT WORTH DIVISION
UNITED STATES EXHIBIT AND WITNESS LIST
Vv.

Larry Rendall Brock

Case Number: 4:21-MJ-017

 

 

 

 

 

PRESIDING JUDGE PLAINTIFF'S ATTORNEY DEFENDANT'S ATTORNEY
CURETON JAY WEIMER BROOK ANTONIO

TRIAL DATE (S) COURT REPORTER COURTROOM DEPUTY
1/14/21 DEBBIE SAENZ JULIE HARWELL
PLP. | DEF. DATE MARKED JADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES

NO. OFFERED

 

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* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

 

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@ facebook.com — Private

Photos

6 Jan 2021

Torch Flyer added a temporary profile picture. — see
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a Share

December 27, 2020 at 1:46 PM. @

   

©} Torch Flyer updated his cover photo. eee

 
Case 4:21-mj-0001

 

CAE Simufitte
2829 W. Airfield Drive
P.O. Box 619119

DFW Airport, Texas 76261
(972)-456-8000 / (800)-527-2463
May 18, 2018
Brock
Grapevine, Texas 76051
Dear Larry,

In addition to your pattem of problematic behavior — which has resulted In at least three verbal wamings
and one written warning — it has recently come to our attention that you inappropriately communicated to
employees that you had not killed anyone for a while and regarding potentially shooting members of a
particular religion and/or race. This type of comment is not appropriate in our workplace, disregards our
values and code of business uct, and can create a hostile and/or dangerous work environment.

As such, this letter is to notify you that, effective immediately, May 18, 2018, your employment with CAE Is

otlials due to this threatening and discriminatory speech, es well as your pattern of problematic
havior.

Sincerely,

Sere

a

Nelson Camacho

General Manager, Americas, Civil

Business Aviation, Helicopter and Maintenance Training
Part 142 — FAA Accountable Manager

 
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LARRY RENDELL BROCK
A.K.A “TORCH FLYER”
FACEBOOK POSTS

November 11, 2020: “The battle isn’t winnable democratically if they
complete the steal. They went into court yesterday.
Let’s see what happens.”

“Fire and blood will be needed soon.”

December 24, 2020: “TI bought myself body armor and a helmet for the
civil war that is coming.”

December 25, 2020:

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December 31, 2020:

January 1, 2021:

January 5, 2021:

“We are now under occupation by a hostile governing
force. That may seem ludicrous to some, but I see no
distinction between a group of Americans seizing
power and governing with complete disregard to the
Constitution and an invading force of Chinese
communists accomplishing the same objective.
Against all enemies foreign and domestic
#OathKeeper #2A #III%

“Definitely not skipping these today. Luck may be

needed in the Second Civil War.”

“TI suspect that is what will happen on the 6th. The
castle will be stormed. The question is what then?”

“This is not a President that sounds like he is giving
up the White House.”

“TI truly believe that if we let them complete the steal
we will never have a free election again”

“TI really believe we are going to take back what they
did on November 3”

“Plane is packed with people going to stop the steal.”
“Not interested in missing tomorrow”

“The watch phrase here seems to be Restore Our
Republic”

 
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January 6, 2021:

January 7, 2021:

“Patriots on the Capitol”
“Patriots storming”
“Men with guns need to shoot there way in”

“Facebook deleted a post. Trying to find the name of
a woman that was gunned down by Capitol police
today. She was unarmed and is the first Patriot
Martyr in the Second American Revolution”

“Funny BLM is a movement but Patriots are a mob.
The real issue is the ruling class got a quick reminder
that they are not untouchable.”

“The charade of an election is over. Our vote was
stolen. Time to secede.”
